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                       UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MINNESOTA

In Re:
                                                   Case No. 19-30971 KAC

Herbert John Peterson
Kathy Marlene Peterson

         Debtors.

                               ORDER GRANTING RELIEF

         This case is before the court on the motion of The Bank of New York Mellon f/k/a

The Bank of New York as Trustee for First Horizon Mortgage Pass-Through Trust 2006-

4, for relief from the automatic stay imposed by 11 U.S.C. § 362(a).

         Based on the records, the court finds that grounds exist under 11 U.S.C. § 362(d)

to warrant relief.

         IT IS ORDERED:

         1.    The motion for relief from stay is granted as follows.

         2.    The automatic stay imposed by 11 U.S.C. § 362(a) is terminated such that

the movant may exercise its rights and remedies under applicable nonbankruptcy law

with respect to the following property:

         Lot 2, Block 1, Shady Oak Grove, according to the recorded plat thereof, Dakota
         County, Minnesota


         3.    Notwithstanding Federal Rule of Bankruptcy Procedure 4001(a)(3), this

order is effective immediately.

Dated: ______________________
           June 26, 2019                    /e/ Katherine A. Constantine
                                           _________________________________
                                           United States Bankruptcy Judge
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